                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 4:09-cr-5
 vs.                                                 )
                                                     )       JUDGE MATTICE
 NICOLE BRENTS                                       )       MAGISTRATE JUDGE LEE


                                 MEMORANDUM & ORDER
                               ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment
 of defendant NICOLE BRENTS on the indictment returned by the Grand Jury was held before
 the undersigned on April 2, 2009.

        Those present for the hearing included:

                (1) AUSA Steve Neff for the USA.
                (2) The defendant, NICOLE BRENTS.
                (3) Atty. Neal Thompson for defendant.
                (4) Courtroom Deputy Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of her
 privilege against self-incrimination accorded under the 5th Amendment to the United States
 Constitution.

        The person present was the defendant named in the indictment.

       The defendant acknowledged having been provided with a copy of the indictment and
 acknowledged having the opportunity of reviewing the indictment with counsel.

        The defendant waived a formal reading of the indictment in open court. The defendant
 entered not guilty pleas to each count of the indictment.

       Presently, the case is assigned the dates set forth in a separate Modified Discovery and
 Scheduling Order.

        ENTER.

        Dated: April 2, 2009                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




Case 4:09-cr-00005-TRM-SKL          Document 124         Filed 04/02/09    Page 1 of 1      PageID
                                          #: 219
